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   and People Media, Inc.
13

14                              UNITED STATES DISTRICT COURT
15                            NORTHERN DISTRICT OF CALIFORNIA
16 MATCH GROUP, LLC, a Delaware                Case No. 5:22-cv-02746
   corporation; HUMOR RAINBOW, INC., a
17 New York corporation; PLENTYOFFISH          PLAINTIFFS MATCH GROUP, LLC’S,
   MEDIA ULC, a Canadian corporation; and      HUMOR RAINBOW, INC.’S,
18 PEOPLE MEDIA, INC., a Delaware              PLENTYOFFISH MEDIA ULC’S, AND
   corporation,                                PEOPLE MEDIA, INC.’S NOTICE OF
19                                             MOTION AND MOTION FOR TEMPORARY
                 Plaintiffs,                   RESTRAINING ORDER
20
          v.
21
   GOOGLE LLC; GOOGLE IRELAND
22 LIMITED; GOOGLE COMMERCE
   LIMITED; GOOGLE ASIA PACIFIC PTE.
23 LIMITED; and GOOGLE PAYMENT
   CORP.,
24
                 Defendants.
25

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                                          Case No. 5:22-cv-02746
                    NOTICE OF MOTION AND MOTION FOR TEMPORARY RESTRAINING ORDER
     6183762
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 1       NOTICE OF MOTION AND MOTION FOR TEMPORARY RESTRAINING ORDER

 2                TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:

 3              PLEASE TAKE NOTICE that on May 19, 2022, or as soon thereafter as the matter may be

 4 heard, Plaintiffs Match Group, LLC; Humor Rainbow, Inc.; PlentyOfFish Media ULC; and People
                                        1
 5 Media, Inc. (together, “Match Group”) will and hereby do move this Court pursuant to Federal Rule

 6 of Civil Procedure 65 for a Temporary Restraining Order and an Order to Show Cause Why a

 7 Preliminary Injunction Should Not Issue to maintain the status quo and (1) restrain defendant Google

 8 LLC and its codefendants and their officers, employees, agents, and all persons acting in concert or

 9 participating with them (collectively, “Google”) from removing, de-listing, refusing to list or

10 otherwise making unavailable any of the apps owned or operated by Match Group, including

11 rejecting or refusing to distribute any update of any such app, from Google Play on the basis that the

12 app permits users to make payments for in-app purchases without using Google Play Billing or on

13 any pretextual basis and (2) restrain Google from requiring that Match Group’s apps offer Google

14 Play Billing as the exclusive means of processing in-app purchases or otherwise require Match

15 Group’s apps to change or eliminate the payment options offered to users.

16              This motion is made on the grounds (1) that absent a temporary restraining order granted

17 without further notice, Match Group is likely to suffer irreparable harm; (2) that Match Group is

18 likely to succeed on the merits of its claims, including that Google’s conduct (a) constitutes

19 intentional interference with Match Group’s contracts, (b) violates California Unfair Competition

20 Law, Bus. and Prof. Code §§ 17200 et seq., and (c) constitutes an illegal tie in violation of the

21 Sherman and Cartwright Acts; (3) that the balance of equities tips sharply in Match Group’s favor

22 because Google will suffer no harm from maintaining the status quo; and (4) that the public interest

23 supports an injunction.

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26   1
    The term “Match Group” includes only the operating entities named as Plaintiffs. Match Group
   LLC; Humor Rainbow, Inc.; PlentyofFish Media ULC; and People Media, Inc. are part of the Match
27 Group family of companies with the ultimate parent company Match Group, Inc. (“MGI”), a
   nonoperating holding company. MGI’s other subsidiaries are not included in the definition of “Match
28 Group” in this motion.
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               Case 3:22-cv-02746-JD Document 12 Filed 05/10/22 Page 3 of 3



 1              This motion is based upon the Complaint in this action, this Notice of Motion, the

 2 Memorandum of Points and Authorities filed herewith, the Proposed Temporary Restraining Order

 3 and Order to Show Cause Why a Preliminary Injunction Should Not Issue, the Declaration of Peter

 4 Foster filed herewith along with its accompanying exhibits, the Declaration of Douglas Dixon, Epic

 5 Games, Inc.’s recently filed Motion for a Preliminary Injunction and supporting papers in the related

 6 matter of Epic Games, Inc. v. Google LLC, Case No. 3:20-cv-0561-JD at Dkt. Nos. 213-221, and all

 7 matters with respect to which this Court may take judicial notice and such oral and documentary

 8 evidence as may be presented to the Court.

 9              The undersigned counsel for Match Group have notified Google and its counsel of Match

10 Group’s intention to bring this Motion before this Court. See Declaration of Douglas Dixon.

11

12 Dated: May 10, 2022                            Respectfully submitted,

13

14                                                By:
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